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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
 ----------------------------------------------------------------X

 EBONI MARSHALL TURMAN,
                                                                     23-cv-

                                             Plaintiff,              Complaint and Jury Demand

                           -against-

 THE ABYSSINIAN BAPTIST CHURCH and VALERIE
 S. GRANT,

                                              Defendants.

 ----------------------------------------------------------------X
         Plaintiff, Eboni Marshall Turman (“the Reverend Dr. Marshall Turman” or

“Plaintiff”), by her attorney, Corey Stark PLLC, complains of Defendants and

respectfully alleges to the Court as follows:


                                NATURE OF THE ACTION

        1.       This is an action to recover damages and equitable relief under the New

York Executive Law Section 290 et seq. (“NYSHRL”) and the Administrative Code of

the City of New York Section 8-107 et seq. (“NYCHRL”). The Reverend Dr. Marshall

Turman seeks redress for injuries she sustained as a result of Defendants’ unlawful

employment discrimination against her on the basis of her gender.

                                          JURISDICTION

        2.       The Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332,

in that Defendants are citizens of the state of New York, Plaintiff is a citizen of the state

of Connecticut, and the amount in controversy, exclusive of interest and costs, exceeds

$75,000.00.
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                                          VENUE

       3.      Venue is proper in the Southern District of New York, pursuant to 28

U.S.C. § 1391, because the Southern District of New York is the judicial district in the

state in which the unlawful employment practices are alleged to have been committed.

                                      PREREQUISITES

       4.      Before filing the complaint in this action, Plaintiff caused a copy of the

same to be served upon the Corporation Counsel of the City of New York and the New

York City Commission on Human Rights.


                                         PARTIES

       5.      At all relevant times Plaintiff was, and still is, a resident of the state of

Connecticut.

       6.      Plaintiff is female.

       7.      At all times material herein Plaintiff was an “employee” entitled to

protection within the meaning of the NYSHRL and the NYCHRL.

       8.      Defendant Abyssinian Baptist Church (“Abyssinian”) is a domestic not-for-

profit corporation, duly organized and existing under the laws of New York, with offices

at 132 West 138th Street in the city, county, and state of New York.

       9.      Abyssinian is an “employer” within the meaning of the NYSHRL and the

NYCHRL.

       10.     At all relevant times Defendant Valerie S. Grant (“Grant”) was the chair of

the Pulpit Search Committee (the “Committee”).

       11.     Grant actually participated in, and aided and abetted, the conduct giving

rise to the discrimination claims set forth herein.

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       12.     Upon information and belief, Grant is a citizen of the city and state of

New York.

       13.     This action arises out of Defendants’ wrongful, illegal, and tortious

conduct within the state of New York.

                                     BACKGROUND

       14.     Plaintiff earned a Bachelor of Arts degree in Philosophy in 2002 from

Fordham University.

       15.     Plaintiff earned a Master of Divinity degree in Christian Social Ethics,

with a minor in African American Religion, in 2005 from Union Theological Seminary.

       16.     Plaintiff was licensed to preach in 2005 by Abyssinian under the

leadership of the Reverend Dr. Calvin O. Butts, III.

       17.     Plaintiff was ordained in 2007 by Abyssinian under the leadership of the

Reverend Dr. Calvin O. Butts, III.

       18.     Plaintiff earned a Doctor of Philosophy degree in Christian Ethics, with a

minor in Systematic Theology, in 2010 from Union Theological Seminary.

       19.     Plaintiff is affiliated with the National Baptist Convention, USA, Inc., the

Empire Missionary Baptist Association, New York State, and the United Missionary

Baptist Association, New York City.

       20.     Plaintiff has a well-established career as a pastor and has held the

following pastoral positions: Intern Minister for Christian Education for the Union

Baptist Church (2002-2004); Intern Minister for Christian Education for Abyssinian

(2003-2005); Assistant Minister for Youth for Abyssinian (2005-2007); Dean of the

Abyssinian Institute for Christian Education (2005-2012); Assistant Minister for


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Christian Education of Abyssinian (2007-2010); and Assistant Minister of Abyssinian

(2010-2012).

       21.     Plaintiff has also held, or holds, the following academic positions: Visiting

Assistant Professor of Christian Social Ethics, Hood Theological Seminary (2012-2013);

Director of the Office of Black Church Studies, Duke University Divinity School (2013-

2016); Assistant Research Professor of Theological Ethics, Black Church Studies, and

African & African American Studies, Duke University Divinity School (2013-2016);

Assistant Professor of Theology and African American Religion, Yale Divinity School

(2016-2021); and Associate Professor of Theology and African American Religion, Yale

Divinity School, Graduate School of Arts and Sciences (July 2021-present).

       22.     Plaintiff has also published extensively, served as guest lecturer at some of

the finest academic institutions in the United States, and presented her work extensively

at academic and religious conferences.

       23.     Across her 21 years of ministry Plaintiff has preached in many prominent

pulpits and churches across the globe.

       24.     Plaintiff is the recipient of a score of professional awards including the

Bouchet Faculty Excellence Award, Afro-American Cultural Center, Yale University,

“Top 25 Women in Higher Education and Beyond,” Diversity Issues in Higher Ed Honor,

and “Top 5 Young Preachers in America” Honor, ROHO Soul.

       25.     Abyssinian is a prominent, and the oldest, Black Baptist church in New

York State, which traces its history to 1808, when Charlotte Johnson, Sally Allen, Sally

Dean Jane Jones, Pheba Green, Pheba Cheeseman, Isabella Simmons, Freelove Slocum,

Hagar Tredwell, Peggy Goldman, Jane Nickens, and Dolly Crum, along with seamen


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from the Ethiopian Empire (then known as Abyssinia) helped lead a protest against

racially segregated church seating.

                             GENDER DISCRIMINATION

       26.     Plaintiff was the youngest woman to be named Assistant Minister of

Abyssinian, and the second woman to preside over the ordinances in Abyssinian’s more

than two-hundred-year history.

       27.     The Rev. Dr. Calvin O. Butts, III, was the Senior Pastor at Abyssinian for

more than thirty-three years and for the entirety of Plaintiff’s employment as Assistant

Minister.

       28.     Although Dr. Butts called Plaintiff “the best minister I have ever had” and

“the smartest minister I have ever had,” he also told her that she would never be the

Senior Pastor of Abyssinian because the church would never hire a woman for the

position.

       29.     In April 2022 Abyssinian formed a search committee to find a Senior

Pastor to replace Dr. Butts, who was retiring for health-related reasons.

       30.     Article VII, Section 7 of Abyssinian’s By-laws mandates that whenever

the office of Pastor becomes vacant, a committee of not more than seventeen members in

good standing shall be appointed by the Diaconate to serve as the pulpit search

committee.

       31.     Despite these requirements, Dr. Butts, not the Diaconate, selected twenty-

seven (27) persons to serve on the Committee, and, upon information and belief, this was

done, at least in part, to ensure that the new Senior Pastor was male.




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         32.   According to Abyssinian’s by-laws marital status, age, and gender should

never be considered in the selection process for hiring a Senior Pastor.

         33.   In August 2022 Abyssinian posted that it was hiring a Senior Pastor.

         34.   The search for a new Senior Pastor consisted of five rounds thus far.

         35.   For the first round Abyssinian invited applicants to apply, through

submissions of curriculum vitae and other evidence of credentials, no later than October

2022.

         36.   Plaintiff and approximately fifty others applied for the Senior Pastor

position.

         37.   In February or March 2023 Abyssinian informed Plaintiff that she had

been selected for the second round, which consisted of answering ten written questions.

         38.   In July 2023 Abyssinian informed Plaintiff that she was one of eleven

applicants, and the only female applicant, who had been selected for the third round,

which consisted of Zoom interviews.

         39.   Prior to her Zoom interview several members of the Committee held the

opinion that Plaintiff was clearly the strongest applicant for the Senior Pastor position.

         40.   During the interview with Plaintiff, Grant behaved inappropriately, asking

Plaintiff questions and pressing on topics that her male co-applicants were not asked.

         41.   Prior to the interview Plaintiff was invited by a member of the Committee

to guest preach at an event, which occurred days after the interview.

         42.   At this event the same Committee member told Plaintiff that some of the

interview questions had been inappropriate, that she had nevertheless done a great job,

and that several Committee members had expressed the opinion that they did not know


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why a search was even necessary because she was clearly the best candidate for the

Senior Pastor position.

       43.     Nevertheless, the Committee decided to exclude Plaintiff from the next

round of five finalists for the Senior Pastor position.

       44.     Gender discrimination motivated the decision not to hire Plaintiff, a fact

discussed openly during meetings of the Committee, including by Grant and another

Committee member, who said that Abyssinian would only hire a woman as its Senior

Pastor “over my dead body.”

       45.     A number of the Committee members who did not agree with the

exclusion of Plaintiff because of her gender inquired about insurance coverage for illegal

discrimination and objected to notifying Plaintiff that should would not proceed to the

next round of the selection process.

       46.     In September 2023 Grant informed Plaintiff, in writing, that she was not

one of the five finalists moving on to round four.

       47.     Grant was not authorized by the full Committee to inform Plaintiff that she

was not one of the five finalists, as other members of the Committee objected on account

of gender discrimination and were not informed in advance about Grant's dismissal of

Reverand Dr. Marshall Turman from the candidate pool.

       48.     All of the five finalists were male, and none were more qualified that

Plaintiff to be the next Senior Pastor of Abyssinian.

       49.     On September 23, 2023, Plaintiff complained on social media that the

decisions not to include her as one of the five finalists and not to hire her as Senior Pastor

of Abyssinian were motivated by illegal gender discrimination.


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        50.     Several members of the Committee approached Plaintiff’s husband after

reading the complaint on social media and verified that the decision was motivated by

gender discrimination and to inform him that ample documentary evidence of this fact

existed.

        51.     Several community members with direct contacts with the Committee

approached Plaintiff or her husband and confirmed conversations they engaged in with a

Committee member which indicated the decision to exclude Plaintiff from the finalist

pool was motivated by illegal gender discrimination.

        52.     Had Defendants not ruled out Plaintiff for the Senior Pastor position

because of her gender, she would have received the position, along with substantial

compensation.

        53.     The openness in which members of the Committee, including Grant,

discussed ruling out Plaintiff because of her gender makes it plain that the discrimination

was willful.

                             AS AND FOR A FIRST COUNT

        54.     Plaintiff repeats and realleges each and every allegation contained in

paragraphs of the Complaint numbered “1" through “53” inclusive with the same force

and effect as if fully set forth at length herein.

        55.     By virtue of the acts complained of herein, Defendants discriminated

against Plaintiff based upon her gender, in violation of the NYSHRL.

        56.     As a direct and proximate result of Defendants’ unlawful discriminatory

practices as described herein, Plaintiff had her professional qualifications and abilities

unduly questioned, and she was humiliated and embarrassed, which was brought about by


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virtue of Defendants’ systematic and continuous unlawful discriminatory practices and

acts.

         57.    Plaintiff has sustained substantial damages, the amount of which is to be

determined by a jury, as a direct and proximate result of Defendants’ unlawful and

discriminatory practices.

                            AS AND FOR A SECOND COUNT

         58.    Plaintiff repeats and realleges each and every allegation contained in

paragraphs of the Complaint numbered “1" through “53” inclusive with the same force

and effect as if fully set forth at length herein.

         59.    By virtue of the acts complained of herein, Defendants discriminated

against Plaintiff based upon her gender, in violation of the NYCHRL.

         60.    As a direct and proximate result of Defendants’ unlawful discriminatory

practices as described herein, Plaintiff had her professional qualifications and abilities

unduly questioned, and she was humiliated and embarrassed, which was brought about by

virtue of Defendants’ systematic and continuous unlawful discriminatory practices and

acts.

         61.    Plaintiff has sustained substantial damages, the amount of which is to be

determined by a jury, as a direct and proximate result of Defendants’ unlawful and

discriminatory practices.



         WHEREFORE Plaintiff demands the following relief:




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 a)    a money judgment against Defendants for her damages including, but not

       limited to, lost wages, lost benefits, other economic damages, shame,

       humiliation, embarrassment, and mental distress;

 b)    instatement into the Senior Pastor position for which Plaintiff was not

       hired or, alternatively, front pay;

 c)    an award of attorneys’ fees;

 d)    punitive damages;

 e)    prejudgment interest and costs;

 f)    an injunction against Defendants engaging in future gender discrimination

       in hiring; and

 g)    such further and additional relief as the Court deems just and appropriate

       under the circumstances.

                                       COREY STARK PLLC


                                       _/s/___________________________
                                       By: Corey Stark (CS-3897)
                                       Attorneys for Plaintiff
                                       110 East 59th Street, 22nd Floor
                                       New York, New York 10022
                                       (212) 324-3705




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                                    JURY DEMAND

      Plaintiff demands a trial by jury in this action.


Dated: New York, New York
       December 29, 2023

                                             COREY STARK PLLC


                                             _/s/__________________________
                                             By: Corey Stark (CS-3897)
                                             Attorneys for Plaintiff
                                             110 East 59th Street, 22nd Floor
                                             New York, New York 10022
                                             (212) 324-3705




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